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                                     UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA

Case: 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
      21-md-02981-JD In re Google Play Store Antitrust Litigation

                                         EXHIBIT and WITNESS LIST

 JUDGE:                                   PLAINTIFF’S ATTORNEY:                DEFENSE ATTORNEY:
 Hon. James Donato                        Lauren Moskowitz,                    Lauren Bell, Jonathan Kravis,
                                          Yonatan Even, Gary Bornstein,        Michelle Chiu, Brian Rocca,
                                          Brent Byars, Andrew Wiktor           Kuru Olasa, Kyle Mach,
                                                                               Justin Raphael, Glenn Pomerantz,
                                                                               Nick Sidney
 JURY TRIAL DATE:                         REPORTER(S):                         CLERK:
 11/13/2023                               Kelly Shainline                      Lisa R. Clark

 PLF    DEF TIME
 NO.    NO. OFFERED            ID REC DESCRIPTION                                                          BY
                                      Court in session; out of the presence of the jury. Google’s
                9:06 am
                                      motion to seal trial exhibits, Dkt. No. 769, denied.
                9:15 am               Court in recess.
                9:16 am                     Court in session; all parties and jury present.
                9:18 am                     Plaintiff calls James Kolotouros -- direct examination.
 647                           X    X       Presentation dated 5/2019 titled "Android 101"                 LRC
                                            Presentation dated 8/2019 titled "MADA & RSA: Android
 617                           X    X                                                                      LRC
                                            Commercial Agreements"
                                            Mobile Application Distribution Agreement (Android)
 5255                          X    X                                                                      LRC
                                            (03/30/2017)
                                            Witness shown exhibit 617
                                            Email from J. Kolotouros to D. Thevenon re rev share
 623                           X    X                                                                      LRC
                                            agreement with OEMs (07/08/2014)
                                            Slide deck titled, "Google Distribution on Android
 624                           X    X                                                                      LRC
                                            Framework" (06/01/2019)
 627                           X    X       Premier Tier Requirements (05/12/2020)                         LRC
 626                           X    X       Google Mobile Revenue Share Agreement (02/01/2020)             LRC
 629                           X            Android Premium Working Group (03/13/2020)
                                            Witness shown exhibit 8523
                                            Document titled, "Store Agreement Term Sheet"
 652                           X    X                                                                      LRC
                                            (06/20/2019)
                                            Document dated 11/4/2020 titled "Samsung 2020 Mobile
 1065                          X    X                                                                      LRC
                                            Incentive Agreement(s)"
 6446                          X    X       Jim Kolotouros "Notes for Don" (05/08/2019)                    LRC
                10:32 am                    Stretch break
                10:33 am                    Cross-examination of James Kolotouros
                                            Witness shown exhibit 627
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PLF    DEF TIME
NO.    NO. OFFERED       ID REC DESCRIPTION                                                          BY
       5187              X X    Android Compatibility Commitment (01/30/2012)                        LRC
                                "Mobile Application Distribution Agreement (MADA)"
       5399              X X                                                                         LRC
                                (01/01/2018)
                                Witness shown demonstrative 1, 2, 3
              10:55 am             Court in recess.
                                   Court in session; all parties present. The Court will hold a
              11:19 am             witness hearing on the chats issue, out of the presence of the
                                   jury, on November 16, 2023, at 3 p.m.
                                   All parties and jury present; cont’d cross-examination of
                                   James Kolotouros.
                                   Witness shown demonstrative 4
                                   Witness shown exhibits 626, 623, 624, 1
                                   7/12/2019 email from J. Rosenberg to T. Lim, P. Bankhead,
                                   P. Gennai, J. Kolotouros, C. Li, S. Samat,
       6066              X   X                                                                       LRC
                                   S. Krishnamachari, W. Logan, A. Kumar, P. Kochikar,
                                   M. Hochberg
                                   Document dated 3/27/2020 titled "Partner Info Doc-
       628               X   X                                                                       LRC
                                   Oneplus 8 Fortnite partnership"
              11:44 am             Re-direct of James Kolotouros
                                   Witness shown exhibits 627, 624
              11:58am              Court asks witness juror question numbers 2, 3, 4
              12:00 pm             Court in recess.
                                   Court in session; all parties and jury present. Plaintiff calls
              12:40 pm
                                   Jamie Rosenberg -- direct examination.
8029                     X   X     No description provided                                           LRC
                                   Email from J. Rosenberg to P. Kochikar re PLEASE READ:
801                      X   X                                                                       LRC
                                   WSJ details (08/27/2013)
                                   Email from J. Rosenberg to S. Kassardjian re DirecTV
800                      X   X                                                                       LRC
                                   Status (05/26/2016)
                                   Email from J. Lagerling to J. Rosenberg re Wallet and DCB
799                      X   X                                                                       LRC
                                   (10/08/2013)
                                   May 2016 Google presentation titled "GMS apps on Low
5963                     X   X                                                                       LRC
                                   RAM - leadership update"
682                      X   X     Amazon competitor deep dive slide deck (4/2017)                   LRC
                                   Witness shown exhibit 805.
806                      X   X     8/8/2018 email from J. Rosenberg to C. Smith                      LRC
                                   Email from E. Cunningham to S. Samat re FN Update
761                      X   X                                                                       LRC
                                   (08/15/2018)
8564                     X   X     No description provided                                           LRC
8568                     X   X     No description provided                                           LRC
                                   Witness shown exhibit 136

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PLF   DEF TIME
NO.   NO. OFFERED       ID REC DESCRIPTION                                                    BY
                               Email from J. Kolotouros to H. Lockheimer re Samsung
783                     X X                                                                   LRC
                               Store Proposal (05/30/2019)
                               Email from J. Kolotouros to S. Samat re Samsung Next
785                     X X                                                                   LRC
                               Steps (06/06/2019)
                               Email from E. Crosby to J. Kolotouros re Banyan
787                     X X                                                                   LRC
                               (06/19/2019)
             2:00 pm           Court in recess.
             2:17 pm              Court in session; out of the presence of the jury.
             2:18 pm              Court in session; all parties and jury present.
                                  Document titled, "Ruminations on Play's Business model"
708                     X   X                                                                 LRC
                                  (08/07/2019)
             2:24 pm              Cross-examination of Jamie Rosenberg
      6133              X   X     2/7/2019 email from S. Samat to E. Crosby                   LRC
                                  Witness shown exhibits 136, 652, 6066, 805, 761, 8564,
                                  682, 8029
      5956              X   X     3/24/2015 email from J. Rosenberg to H. Lockheimer          LRC
                                  5/28/2016 email from J. Rosenberg to S. Samat, P. Gennai,
      5996              X   X                                                                 LRC
                                  M. Petrillo, L. Fontaine, V. Buch, S. Newberry, K. Oh
      5580              X   X     6/8/2016 email from S. Samat to J. Rosenberg                LRC
                                  Presentation dated 7/31/2017 titled "Subscriptions V2
      5674              X   X                                                                 LRC
                                  Follow-Up"
                                  Witness shown exhibit 708
             3:20 pm              Re-direct of Jamie Rosenberg
                                  Witness shown exhibits 805, 136, 5996, 5674
             3:29 pm              Court in recess.
                                  Plaintiff has 1504 minutes left.
                                  Defendant has 2033 minutes left.




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